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                                        Hon, Erithe A, Smith
                                        United States Bankruptcy Court
                                        411 West Fourth Street
                                        Santa Ana, CA 92701
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